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                                                                                                                                                            , ,.. EXHIBIT ~
                                                                                                                                                                   587
                                                                                                                                                                     Alison Daugherty
                                                                                                                                                                           1/8/2021
                                                                                                                                                              ....   -M-·CSR,CCR        ....ii


     IF IT1 S HAPPENED                      ro·YOU WE WANT TO KNOW~
     Please select one or more choices below.



     ~ Discri~ination or other harass~,ent.                                                             .                                                              /
         (Generally, Discrimination or Harassment can include threats; insults, jokes, unwelcome verbal comments or email, derogatory pictures or gestures or unwelcome physical
         conduct, bullying, retaliation ·                                ·               sexual orientation, disabilit , ethnic ro      rotected class status,

                                           include P(.)fpoSely ambiguous CFE feeclbackwhethet verbal or written,Jack of a deat'and supported growth p lan from manager,. gender
         or diversity hiasrelatingto hiring, promoting;payorperformance rewards. Discrimination .or harassment at work can happen Inside .oroutsideofthework--pface:.)



      D Sexual harassment
          (Generally,Sexual Hatassmentcan indude unwelcome sexual advances, requests for 5exualfavors,other verbal orphyslcalconduct ofa sexual nature, sexual harassment
        ,at worl<·can happen inside or 1Jutside of the work-place and can include co-workers including atryJetes, managers, vendors and visitors.)                   ·
.I




      IF YOU WOULD LlKE TO ·SHARE MORE DETAI_LS, PlEASE ..DO SO OV!ER THE PAG.E.
     (lfyou are ,1 N.ike employee, .Nike's harassment and anti-distrim-ination policy can be found here~ bttps;lini.kehr.elke,com/nod.ell.5978}




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 MY EXPERIENCE
(lfyou need rnore space, please photocopy thJs page or include additiona_l attachments.as neededJ
 Name {optional):

                                                                                          '.T-


 Please share brief outline of your experience:


 Da~ef location ifyou can remember:


 Did you experience this situation first hand?


 Were there any witnesses?


 D.o you pave anyhard evidence . such as emaUs, photo's . ¢tc?


 lf notexpel'ienced firsthand, then how was itbrought to your attention?


 D!d you report this experience?

   ~ ,,:

 If you reported it, was it resolved?


  If' you did not report it, why did you make thc1tdeclslon?


 What impact has this experience had on you?
  (For example; career progression,~physical health, psychological health, other)


  Please indicate If youwouid like to discuss and potentially elevate your experience:




                                                                                                                                                NIKE_00033339
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          I am speaking out as I believe that I have normalized negative, ma,nipulative and sexist behavior
          over the course of my career at Nike.
          I am speaking out for the younger generation of female leaders.
          I am speaking out because I have two daughters and want them to have equality no matter
          what or where they decide to invest their time and energy.
          I am speaking out because I wonder if faecutive or Senior level Management would want their
          daughter-or wife - to work at Nike.

          Our culture is broken and I am becoming more sensitive to the plight of women at Nike.

          When people ask me if I have ever felt discriminated against as a female at Nike, I have always
          responded no.

          My dad brought me up to believe that I could do ANYTHING that I set my heart and mind to
          achieving. Growing up with two older brothers and in sports, I have always been competitive
          and philosophically have always believed that if I do the right thing, act with integrity, honesty
          and kindness, put the team above myself, good things will happen.

          And good things have happened; I have a husband of 24 years who I love dearly, I have three
          stable and confident kids and work that I am passionate about. We have lived around the world
          and have experienced many amazing things as a result of our affiliation with Nike. It's only
          when I take a deeper look, really dig into "normal" Nike behavior, that I start to question what
          is really normal versus what is Nike Normal.

          For a company that prides itself on innovation, inclusion and equality, I fear that we are missing
          the mark. Nike can change and lead in this space.

          Here are some situations.

          Discrimination

          Pay Inequities
              • E6 vs E7: I am "tied" for 4th paid salary on my direct team
              • David Ayre email on pay was real setback, it was tone deaf

          Function: Sales
             •   Sales is consistently diminished, talent {esp female) moved to other pipelines (GM,
                 Marchand ising)
             •   Sales perceived as "old school", aging, lacking modern + innovative approach
             •   Nike Direct priority vs wholesale dynamic
          Global Category Marketplace Team




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                  •    41 (13 women/28 men} direct reports+ 16 (10 women/5 men/1 open HC) dotted line
                  •    All E7 and S band direct reports (9} are male, 2 POC
                  •    'male team makeup but you're the boss'
                  •    Career panels= troubling optics for innovative and diverse approach



              •        Disparaging, dishonest behavior, discredit my reputation
              •        Senior leaders told me that        would completely discredit me, question my ability and
                       integrity in HR sessions
              •            said to me: 'it's Iike neither your boyfriend nor your husba ncl are happy with you',
                       referring to                as I was the WE GM Jordan and Nike Basketball and
                      questioned (and said that           questioned it on the Jordan side but       never
                       mentioned it/ appeared to support me) whether I was spending the appropriate time
                      on Nike Basketball. I told him that I over-indexed my time on Nike Basketball relative to
                      the size of business and that I was offended by the accusation, asked for proof. Never
                      received anything.
              •       He had completely unrealistic expectations of level of work. I would push back to
                      protect the team but would eventually have to deliver (example, Quarterly business
                      reviews in~between QBR's, Basketball LT WE trip: 5 key city tour at the same time for
                      marketplace, experiences, inspiration which almost killed my small team but we
                      delivered beyond expectations}
              •       He was manipulative and I was concerned for my career
              •       I felt completely e><posed and unprotected after building my Nike career for 18 years
                           o If you were on         s good list, you were protected by him
                           o He once told his Staff Meeting attendees: 'it's really important to know who's at
                               the table and know who has your back and who doesn't'
             •        I confided in              about my concerns: 'don't fight that battle, you won't win'
             •                       escalated discrimination and behavior to HR & ER, eventually left the
                      company
                           o I was interviewed as a result of           's escalation and cited above specific
                               examples but nothing happened for many months (maybe a year or more?)

          Question self, value
             •        'everybody wears the green jacket' and then you lose it
             •        NLT evenings where you are tapped to go out. Or not.
             •        Secret areas for VIP, expectations on entertainment
             •        Boys club, biased selection process, protection
             •        'Don't nag, guys don't want to feel like they're with their wives'
             •        'You're cool, you're one of the boys'
             •        My introvert, quiet leadership style vs. extrovert culture (I have overcome this but it
                      took time)
                         o 'People don1 t know you because you don't put yourself out there'




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                      o   'do you have ambition? Do you want to grow because you don't show it" - BUT I
                          DELIVER EVERY DAY AND AM VERY COMPETITIVE

           Women tend to be placed in Women's, Young Athletes, Analysts, Merchandising roles




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                                                              Monday, March Sp 2018 at 1:38:20 1PM Padfit Standard Time

        Subject: Equal Pay Day: Nike has Pay Equity
        Date:     Tuesday, April 4, 2017 at 12:20:00 PM Pacific Daylight Time
        From:     DAyre
        To:       Lst-Nike.Global




                    Team,

                    Today, on Equal Pay Day, we are pleased to share that NIKE, Inc. has pay equity globally
                    across all team members in all brands, inclusive of our wholesale and retail employees.
                    This means that women, men and all races/ethnicities who undertake the same work at
                    the same level, experience and performance are equitably compensated.

                    You may recall that several months ago Mark Parker commun icated our commitment to
                    pay equity as part of the White House Equal Pay Pledge. At that time, we shared that we
                    would review pay practices across the company. In keeping with Industry best practices,
                    we worked in partnership with outside experts to complete a comprehensive study of all
                    aspects of our pay across all jobs and all levels globafly.

                   At Nike, for every $1 earned by men, women employees globally earn 99.6 cents. Racial
                   and ethnic minorities (combined) in the U.S., where we track this information, earn 99.7
                   cents for every $1 earned by white employees. This confirms that there are essentially no
                   dlfferences in pay and that we have pay equity, highlighting the strengths of our Total
                   Rewards programs and our continued focus on market competitiveness and pay for
                   performance.

                   As Mark stated, "we are proud of our leadership and efforts to create a level
                   where all team members can perform at their best." We'll continue to
                   and reporting on pay equity across Nike. However, to truly unleash our full potential, we
                   recognize that we must increase our efforts to create an inclusive culture where all of our
                   diverse employees thrive, with supporting policies and practices, and - most
                   importantly - where diverse individuals are represented at every level of leadership.

                   Regards,




                   David Ayre
                   EVP, Human Resources

                                                                                                                    Pagel of2

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